 C e 2:15-cv-06525-LDW-AYS
 Case 2:15-cv-06525-LDW-AYS Document
                            Document 78 Filed
                                        Filed 12/29/15
                                              01/08/16 Page      of 11 Pagei~3~F-
                                                         Page 11 of    PageID #: 33
                                                   _F f t E 0               (
                                                                                  . -, .'~! PJ~f'i·;:~ 01 "'IC',;E
                                                                                  u.s. bk.' r'llc i ~Luin tDN Y
                                                                                                                  .   '    '

 1
     UNITED STATES DISTRICT COURT                                                *         JAN     -a 2016            *
 2
                                __I=S=-=T=-=RI-=-=C=-=T--O=F=-=-N=E::...;W..:..-.=Y-=0=-=RK=---L__,O NG ISLAND 0 FF 1c E
     ...::E_A...::.S-=T_E_RN=..;_D
 3
 4    SHANTALE CHERY, JASON A. HOYLER AND
      DAWN GREMPEL,                                                                  Docket No: 2:15-cv-06525-LDW-AYS
 5
 6                                     Plaintiff,

 7
                                      -against-
 8
 9    COMPUTER CREDIT, INC,

10                                   Defendant.
11
12                                 STIPULATION OF DISMISSAL
13                          PURSUANT TO FED. R. CIV. PROC. §41(a)(l)(A)(ii)

14             IT IS HEREBY STIPULATED AND AGREED by and between the parties
15
     and/or their respective counsel(s) that the above-captioned action is voluntarily dismissed
16
17   without prejudice pursuant to the Federal Rules of Civil Procedure 41(a)(1)(A)(ii) with

18   each party to bear its respective attorneys' fees and costs.
19
20
21   ROBERT DOUGHTERY                                                  BARSHA Y SANDERS, PLLC

22          Is Robert Dougherty                                                Is Craig B. Sanders
23   Robert Dougherty, Esq.                                            Craig B. Sanders, Esq.
     226 Seventh Street                                                100 Garden City Plaza, Suite 500
24   Suite 202                                                         Garden City, New York 11530
25   Garden City, NY 11530                                             Tel. (516) 203-7600
     (516) 873-0808                                                    Fax (516) 706-5055
26   Attorneys for Defendant                                           Our File No: 109702
27                                                                     Attorneys for Plaintiff
                                                               r·· fJ 0""';I':?.~D:-·~         . ------·--
28
29                                                                 r~~ra·~,~tral                Islip, N.Y.

30
31
                                                                              - rr~)~=~*t-    __/         /)/1
